Case 2:04-cr-20293-.]PI\/| Document 37 Filed 04/25/05 Page 1 of 3 Page|D 53

FKj
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 95§5;

 

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' ' c !" TN’ {v-H_ P-Jlf:
UNITED sTATES oF AMERICA ~1 H!S

Plaintiff,

Criminal No.é7 -;ZU;F?§Ml

(90-Day Continuance)

576/c iff- BELL

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on FridaV, Julv 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 22nd day of April, 2005.

T'nis document entered cm the docket sheei in complance j 7
Wirh Ru\e 55 ann/or sz{b) sich on ;Zf 05

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SO ORDERED this 22nd day of April, 2005.

NMM

 

JON PHIPPS MCCALLA
% UN ED STATES DISTRICT JUDGE
7/; 1070va v

Ass§stant United States Attorney

 

 

 

 

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/J*’M

 

 

Counsel for Defendant(s)

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20293 Was distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

